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 1                                                                      The Honorable Robert S. Lasnik

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7

 8   SUSAN SOTO PALMER, et. al.,                            Case No.: 3:22-cv-05035-RSL
 9                   Plaintiffs,                            Judge: Robert S. Lasnik
10
             v.
11                                                          PLAINTIFFS’ RESPONSE TO
     STEVEN HOBBS, et. al.,                                 INTERVENOR-DEFENDANTS’
12                                                          MOTION TO SUSPEND
                     Defendants,                            REMEDIAL PROCEEDINGS OR
13           and                                            ORDER AN EVIDENTIARY
14                                                          HEARING
     JOSE TREVINO, ISMAEL CAMPOS, and
15   ALEX YBARRA,

16                   Intervenor-Defendants.
17

18                                           INTRODUCTION

19          At this late stage, Intervenor-Defendants (“Intervenors”) now raise two new arguments that

20   could have been raised at any time in the last four months, in yet another attempt to delay relief in
21   this case. First, Intervenors argue that their September 8, 2023 notice of appeal of this Court’s
22
     liability determination divested this Court of jurisdiction over the remedial proceedings. This is
23
     wrong and should be rejected. Second, Intervenors request an evidentiary hearing. But the parties
24
     have had an opportunity to submit proposed maps, briefing, and expert disclosures, no material
25

26
     PLAINTIFFS’ RESPONSE TO                          1
     INTERVENOR-DEFENDANTS’
     MOTION TO SUSPEND REMEDIAL
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 1   facts are in dispute, and the Court has already ordered an oral argument for February 9 and a

 2   hearing in March where all parties can effectively be heard. As a result, Intervenors’ motion should
 3   be denied.
 4
                                                ARGUMENT
 5
     I. This Court Has Jurisdiction Over the Remedial Proceedings.
 6
            This Court has jurisdiction to impose a remedial plan notwithstanding the appeal of this
 7

 8   Court’s liability ruling. The notice of appeal divests the district court of jurisdiction only over

 9   “those aspects of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459

10   U.S. 56, 58 (1982) (per curiam). The purpose of this divestiture rule is to “promote judicial
11   economy and avoid the confusion of having the same issues before two courts simultaneously.”
12
     United States v. Phelps, 283 F.3d 1176, 1181 n.5 (9th Cir. 2002). This partial divestiture accords
13
     with Federal Rule of Civil Procedure 62(d) which authorizes a district court to “modify . . . or grant
14
     an injunction on terms . . . that secure the [non-appealing] party’s rights” while an appeal of a
15

16   permanent injunction is pending.

17          Intervenors concede that “an appeal from a supervisory order does not divest the district

18   court of jurisdiction to continue its supervision.” Dkt. # 258 at 4 (quoting Hoffman ex rel NLRB v.
19
     Beer Drivers & Salesmen’s Local Union, 536 F.2d 1268, 1276 (9th Cir. 1976)); see also Nat. Res.
20
     Def. Council, Inc. v. Sw. Marine Inc., 242 F.3d 1163, 1166 (9th Cir. 2001) (holding that district
21
     court retains jurisdiction during pendency of appeal to preserve or modify injunction as distinct
22
     from re-adjudicating the merits of the case). That concession confirms this Court’s jurisdiction
23

24   over the remedial phase. In cases such as this, where the district court supervises an “ongoing

25   course of conduct,” it retains jurisdiction to do so and enter remedial injunctions—even where it
26
     PLAINTIFFS’ RESPONSE TO                          2
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 1   “acts upon or modifies the order from which the appeal was taken.” Board of Education of St.

 2   Louis v. State of Missouri, 936 F.2d 993, 996-96 (8th Cir. 1991) (internal quotation marks and
 3   citation omitted). Indeed, just a month ago, the Eighth Circuit issued a ruling confirming a district
 4
     court’s remedial jurisdiction under the circumstances present here. See Order, Turtle Mountain
 5
     Band of Chippewa Indians v. N.D. Leg. Assembly, No. 23-3697 (Dec. 20, 2023).
 6
            Moreover, the Ninth Circuit has both denied Intervenors’ requested stay of the remedial
 7

 8   process, and at Intervenors’ request, acknowledged this Court’s jurisdiction over the remedial

 9   phase and put merits briefing in abeyance “pending the district court’s order adopting a remedial

10   map.” Dkt. # 247, 261. In fact, in their abeyance request, Intervenors represented to the Ninth
11   Circuit that an abeyance was appropriate because the remedial process was proceeding here,
12
     would not prejudice plaintiffs, and they wanted to brief both liability and remedy at the same time.
13
     See, e.g., Appellants’ Motion to Hold Briefing in Abeyance, Soto Palmer v. Trevino, No. 23-
14
     35595, (9th Cir. Jan. 5, 2024), ECF No. 48. Intervenors’ opposite request to this Court belies their
15

16   representation to the Ninth Circuit. Further, in light of the Ninth Circuit’s order, pausing remedial

17   proceedings now would effectively grant Intervenors the meritless stay they’ve requested and been

18   denied multiple times here and at the Ninth Circuit. See Dkt. # 247. It would also prejudice
19
     Plaintiffs and Washington voters by causing confusion and jeopardizing a non-dilutive map for
20
     the 2024 election, as this Court has enjoined the current version of LD 15 from being utilized in
21
     the upcoming election.
22
            In addition, the remedial map is not an aspect of the pending appeals. No notice of appeal
23

24   regarding remedy has been filed (nor could it), and the issues currently on appeal concern this

25   Court’s finding that the Gingles preconditions were met, and that the totality of the circumstances
26
     PLAINTIFFS’ RESPONSE TO                          3
     INTERVENOR-DEFENDANTS’
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 1   demonstrated an unequal opportunity for Latino voters to elect candidates of choice in violation of

 2   Section 2 of the VRA. Dkt. # 218 at 28.1 Thus, this Court is properly within its authority to modify
 3   the injunction of the enacted map and maintain its supervisory role of the remedial process.
 4
            This retention of remedial authority is standard practice in redistricting cases. See, e.g.,
 5
     Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1950 & n.1 (describing how
 6
     remedial phase advanced as the Supreme Court entertained an appeal from injunction); Turtle
 7

 8   Mountain Band of Chippewa Indians v. Howe, 2023 WL 9116675 (8th Cir. Dec. 15, 2023)

 9   (denying stay of lower court remedial proceedings pending appeal); Williams v. City of Texarkana,

10   32 F.3d 1265, 1267 (8th Cir. 1994) (affirming district court’s Section 2 liability determination and
11   subsequent remedial order where remedial process occurred after filing of liability appeal);
12
     Holloway v. City of Virginia Beach, 21-1533, Dkt. # 29 (4th Cir. July 12, 2021) (granting abeyance
13
     pending remedial proceedings in district court); Personhuballah v. Alcorn, 155 F. Supp. 3d 552,
14
     557 (E.D. V.A. 2016) (three-judge court) (rejecting argument that notice of appeal of liability
15

16   determination divested district court of jurisdiction to impose remedial plan), application for stay

17   denied, Wittman v. Personhuballah, 577 U.S. 1125 (2016) (Mem.). Indeed, because the current

18   map is permanently enjoined, and Intervenors’ efforts to stay that injunction were denied, this
19
     Court must act to ensure that a map is in place before the 2024 elections. See Personhuballah, 155
20
     F. Supp. 3d at 557; Wise v. Lipscomb, 437 U.S. 535, 540 (1978) (holding that, after a violation is
21
     found, “[w]hen those with legislative responsibilities do not respond, or the imminence of a state
22

23

24
     1
25     Intervenors’ lack of standing to even bring an appeal is of course also a key threshold issue for
     the Ninth Circuit to address. See Hollingsworth v. Perry, 570 U.S. 693, 705 (2013).
26
     PLAINTIFFS’ RESPONSE TO                         4
     INTERVENOR-DEFENDANTS’
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 1   election makes it impractical for them to do so, it becomes the unwelcome obligation of the federal

 2   courts” to devise a remedial map).
 3          In arguing that this Court lacks jurisdiction, Intervenors incorrectly read Coinbase, Inc. v.
 4
     Bielski, and mischaracterize Plaintiffs’ filings made pursuant to this Court’s remedial order.2
 5
     Contrary to Intervenors’ suggestions, Coinbase applied only in the arbitration context, and
 6
     specifically to an interlocutory appeal. In Coinbase, the “sole question” was whether a trial could
 7

 8   proceed in the district court while the question of arbitrability was on appeal. Coinbase, Inc. v.

 9   Bielski, 599 U.S. 736, 740 (2023). In holding that the answer to that question was no, the Court

10   explained that the appeal of arbitrability is essentially an appeal on the question of whether a trial
11   can take place in the district court at all. Id. at 741. The Court said nothing that bears on the
12
     circumstances of this case. Intervenors misinterpret the holding of Coinbase and conflate the
13
     question it addressed (must a case go to arbitration rather than trial) with a completely different
14
     one (can a remedial process proceed while the liability determination is on appeal). Dkt. # 258 at
15

16   3.

17          Intervenors attempt to characterize Plaintiffs’ proposed remedial maps as a motion for

18   relief is also unavailing. Id. at 6-7. Plaintiffs’ proposed maps were submitted pursuant to this
19
     Court’s remedial order, Dkt. # 230, and Intervenors’ liability appeal, Dkt. # 222, does not divest
20
     this Court of jurisdiction over the remedial process. And in any event, Plaintiffs’ proposed
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22

23
     2
24    Intervenors state that the jurisdictional argument did not occur to them until reading Plaintiffs’
     opposition to the intervention motion of Senator Nikki Torres. But any jurisdictional issue with
25   Sen. Torres’ intervention is irrelevant here, as this Court denied Sen. Torres’ motion on timeliness,
     not jurisdictional grounds. Dkt. # 259.
26
     PLAINTIFFS’ RESPONSE TO                          5
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 1   remedial maps are not a “motion for relief;” they are a Court-ordered part of the ongoing process

 2   to remedy a violation of federal law.3
 3          Finally, the Eleventh Circuit’s decision in Wright v. Sumter Cnty. Bd. of Elections &
 4
     Registration, 979 F.3d 1282, 1303 (11th Cir. 2020), is irrelevant here. In that case, the appellate
 5
     court deemed the remedy and liability proceedings interconnected only “in light of the peculiar
 6
     posture of the case” and for the sole purpose of deciding what parts of the record the court would
 7

 8   consider in resolving the appeal. Id. at 1302. Because the court had already twice reversed the

 9   district court’s liability rulings and specifically directed the lower court to begin remedial

10   proceedings, the court determined that it would consider both records in resolving the appeal. Id.
11   The case did not address, let alone lend support for, Intervenors’ jurisdictional theory.
12
            The bottom line is this: this Court retains jurisdiction over the remedial process while
13
     Intervenors appeal the liability finding. This Court and the Ninth Circuit have already denied
14
     Intervenors’ motions to stay these proceedings, and this motion is little more than a restyled request
15

16   for the same previously denied relief. Intervenors also asked the Ninth Circuit to hold liability

17   briefing in abeyance pending the conclusion of the remedial process in this Court, which they now

18   ask this Court to suspend because of their Ninth Circuit appeal. Dkt. # 258. This brazen effort to
19
     game the appellate rules and compound delay should be rejected. This Court has the authority—
20
     and the obligation—to proceed in the remedial process to ensure a map is in place in time for the
21
     2024 election.
22

23
     3
24    Intervenors make reference to Plaintiffs’ proposed maps 1-5, submitted on December 1, Dkt. #
     245-1, but perplexingly ignore the modified proposals 1A-5A submitted on December 22, Dkt. #
25   254-1. This omission undercuts Intervenors’ bizarre assertion that Plaintiffs’ initial remedial
     opening brief was a motion for relief.
26
     PLAINTIFFS’ RESPONSE TO                          6
     INTERVENOR-DEFENDANTS’
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 1   II. No Dispute of Material Fact Exists, and the Court Has Already Ordered a Hearing and
     Oral Argument.
 2
            There are no contested issues of material fact warranting an evidentiary hearing as the
 3
     Intervenors claim. And, in any event, the Court has already received briefs and supporting
 4

 5   materials from the parties, scheduled an oral argument for the parties to be heard on remedial

 6   proposals, and ordered that a hearing will be held in early March on the court-preferred remedial

 7   map, see Dkt. # 246 at 3 (“The Court will, however, schedule a hearing in the beginning of March
 8
     to discuss the Court’s preferred remedial option”). No more is necessary here.
 9
            To begin, what Intervenors claim are contested facts are not. Instead, Intervenors raise a
10
     mix of legal disputes, inconsequential quibbles, and topics they would “like to discuss.” Dkt. #
11
     258 at n.2. These are a far cry from the material disputed facts about feasibility of asset division,
12

13   customer impact, shareholder effect, and societal benefit at issue in United States v. Microsoft

14   Corp., 253 F.3d 34, 101 (D.C. Cir. 2001), which Intervenors cite on this point.
15          For example, Intervenors identify as disputed facts Dr. Oskooii’s statement that the maps
16
     he drew respect relevant redistricting criteria and the Court’s order, and Dr. Collingwood’s opinion
17
     that Plaintiffs’ remedial maps comply with Section 2. Dkt. #258 at 9. But to the extent these issues
18
     raise legal questions, those are for the Court to decide, and to the extent they raise technical
19

20   mapping questions, Intervenors and their experts already had a chance to respond, and the Special

21   Master can address them. They also claim that the “location of incumbents” is contested, but that

22   is wrong. There is no identified factual dispute about incumbent addresses, and any addresses can
23   be verified easily by the Special Master with data from the Secretary of State. Next, they claim
24
     that “adjusting partisan performance in non-Yakima Valley districts” is a contested fact, but that
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     PLAINTIFFS’ RESPONSE TO                          7
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 1   was discussed at length in both parties’ briefs and expert reports, is irrelevant to the issue at hand,

 2   and is likewise verifiable or could be altered by the Special Master. Finally, Intervenors claim
 3   “what data was consulted by the experts while creating and analyzing Plaintiffs’ proposed remedial
 4
     maps,” is contested. Not so. This data was fully disclosed and outlined in Plaintiffs’ expert reports,
 5
     no material dispute actually exists. See id. at 9 n.2. In a footnote, Intervenors list further subjects
 6
     they “would like to discuss” with Plaintiffs’ experts, but such a desire is irrelevant and has no basis
 7

 8   in the law. Dkt. # 258 at 9.

 9          In any event, the parties have already been given sufficient opportunity to be heard. Each

10   party had the chance to submit remedial proposals, accompanying briefs, and expert materials.
11   Indeed, Intervenors submitted a response brief and expert report discussing Plaintiffs’ proposals,
12
     after declining to submit any maps of their own. Dkt. # 251, 252. See, e.g., Pac. Harbor Cap., Inc.
13
     v. Carnival Air Lines, Inc., 210 F.3d 1112, 1118 (9th Cir. 2000) (holding that “[t]he opportunity
14
     to brief the issue fully satisfies due process requirements”). Moreover, the Court has already
15

16   scheduled an oral argument on remedial proposals for February 9, in addition to a remedial hearing

17   that will take place in early March. These hearings, along with prior briefing and expert

18   disclosures, will provide an opportunity for all parties to be heard with regard to remedial proposals
19
     and the remedial map that the Court prefers.
20
                                               CONCLUSION
21
            For the reasons stated above, Intervenors’ motion to suspend remedial proceedings or order
22
     an evidentiary hearing should be denied.
23

24

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     PLAINTIFFS’ RESPONSE TO                           8
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 1   Dated: February 5, 2024                  Respectfully submitted,

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     PLAINTIFFS’ RESPONSE TO              9
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 1                                  CERTIFICATE OF SERVICE

 2         I certify that all counsel of record were served a copy of the foregoing this 5th day of
 3   February 2024, via the Court’s CM/ECF system.
 4

 5
                                                                         /s/ Mark P. Gaber
 6                                                                       Mark P. Gaber
                                                                         Counsel for Plaintiffs
 7

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     PLAINTIFFS’ RESPONSE TO                        10
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